 1

 2   SEVENTH FLOOR CAMELBACK ESPLANADE II
     2525 EAST CAMELBACK ROAD
 3   P H O E N I X, A R I Z O N A 8 5 0 1 6
     TELEPHONE: (602) 255-6000
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     Mark S. Bosco
 5   State Bar No. 010167
     Leonard J. McDonald
 6   State Bar No. 014228
     Attorneys for Movant
 7   ljm@tblaw.com
     20-01763
 8
                     IN THE UNITED STATES BANKRUPTCY COURT
 9
                               FOR THE DISTRICT OF ARIZONA
10
     IN RE:                                                         Chapter 13
11
     John Arthur Sebert, Jr. and Abbie Faye Willard                 Case No. 4:20-bk-08876-SHG
12
     Debtors.                                                       NOTICE OF APPEARANCE
13                                                                  AND REQUEST FOR NOTICE
14

15

16
              TIAA, FSB, by and through its undersigned attorneys, hereby gives notice of its
17
     appearance in these proceedings, and requests that the name and address of its attorneys be
18
     added to the mailing list in this matter, and that all future notices which creditors are entitled to
19
     receive be mailed to said attorneys.
20
              DATED this 5th day of August, 2020.
21
                                                            Respectfully submitted,
22
                                                            TIFFANY & BOSCO, P.A.
23
                                                            BY /s/ LJM #014228
24
                                                                   Mark S. Bosco
25                                                                 Leonard J. McDonald
                                                                   Attorneys for Movant
26




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 1   COPY of the foregoing mailed
     August 5, 2020 to:
 2

 3   John Arthur Sebert, Jr. and Abbie Faye Willard
     6278 N. Calle Del Halcon
 4   Tucson, AZ 85718
     Debtors
 5
     Matthew Thomas Foley
 6
     4400 E. Broadway
 7
     Suite 811
     Tucson, AZ 85711
 8   Attorney for Debtors

 9   Diane C. Kerns
     31 N. 6th Avenue
10   Suite 105-152
     Tucson, AZ 85701
11
     Trustee
12
     By: Jesse Ference
13

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